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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF INDIANA
                                       INDIANAPOLIS


                                 CASE NO.: 1:24-cv-00650-JPH-MG

   TRIANGLE EXPERIENCE GROUP, INC.,

                           Plaintiff,
   v.

   MAX MINDS, LLC

                           Defendant.


             ORDER GRANTING DEFENDANT’S MOTION FOR EXTENSION OF TIME

           Before the Court is Defendant MAX MINDS, LLC’S Motion for Extension of Time to

  respond to Plaintiff Triangle Experience Group Inc.’s First Amended Complaint. The court,

  having considered the Motion and having found good cause, therefore hereby ORDERS that the

  motion is GRANTED. Max Minds, LLC shall have until November 1, 2024 to respond to

  Plaintiff’s First Amended Complaint.



        Date: 10/16/2024


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  Distribution:
  To ECF Counsel of Record
